Case 1:14-cv-23208-JAL Document 190 Entered on FLSD Docket 06/11/2019 Page 1 of 8




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 14-23208-CIV-LENARD/GOODMAN

  FLAVA WORKS, INC.,

        Plaintiff,

  v.

  A4A RESEAU, INC.,
  A4A NETWORK, INC.,
  and MARC PARENT,

        Defendants.
  _________________________/

     ORDER VACATING ORDER OF REFERRAL (D.E. 175), GRANTING BY
      DEFAULT, AND ALTERNATIVELY ON THE MERITS, DEFENDANTS’
     MOTION FOR PROCEEDINGS SUPPLEMENTARY AND TO IMPLEAD
   PHILLIP BLEICHER (D.E. 174), AND REFERRING CASE TO MAGISTRATE
    JUDGE JONATHAN GOODMAN FOR PROCEEDINGS SUPPLEMENTARY

        THIS CAUSE is before the Court on a sua sponte review of the record. On

  September 20, 2018, the Court entered an Order awarding Defendants $81,958.72 in

  attorneys’ fees, costs, and post-judgment interest. (“Judgment for Fees,” D.E. 167.) On

  December 7, 2018, the Clerk issued a Writ of Execution in the amount of $81,958.72. (D.E.

  173.) Plaintiff appealed the Court’s Judgment for Fees. (D.E. 168.)

        On December 21, 2018, Defendants filed a Motion for Proceedings Supplementary

  and to Implead Phillip Bleicher, indicating that the Judgment for Fees and Writ of

  Execution remain unsatisfied. (D.E. 174.) Therefore, Defendants seek an Order granting

  proceedings supplementary pursuant to Section 56.29, Florida Statutes “to seize certain

  property, namely, copyright registrations and/or unregistered copyrights and the inventory
Case 1:14-cv-23208-JAL Document 190 Entered on FLSD Docket 06/11/2019 Page 2 of 8




  and goodwill associated therewith in the name of Judgment Debtor [Flava Works, Inc.],

  and/or certain domain registrations owned by the Judgment Debtor and its alter ego, Phillip

  Bleicher . . . .” (Id. at 1.) As such, the Motion also seeks to implead Phillip Bleicher. (Id.

  at 7-8.) On December 26, 2018, the Court referred the Motion to Magistrate Judge

  Jonathan Goodman. (D.E. 175.)

         On March 11, 2019, Plaintiff’s former attorney, Juneitha Shambee, filed a Corrected

  Motion to Withdraw as Counsel, (D.E. 178), which the Court denied without prejudice

  because in the Eleventh Circuit, a corporation cannot be unrepresented in proceedings

  before the District Court pursuant to Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385 (11th

  Cir. 1985), (D.E. 179).

         On April 8, 2019, Plaintiff’s CEO, Phillip Bleicher, filed a Motion indicating that

  Plaintiff had terminated Ms. Shambee’s employment as counsel, and seeking an extension

  of time to hire new counsel. (D.E. 181.) On April 10, 2019, the Court entered an Order

  granting that Motion, providing Plaintiff “until and including May 1, 2019 to hire new

  counsel, evidence[d] by a Notice of Appearance on the docket.” (D.E. 183.) The Court

  warned that “failure to timely hire new counsel may result in granting Plaintiff's Motion(s)

  by default, or have other negative consequences.” (Id.)

         On May 1, 2019, Plaintiff filed another Motion for Extension of Time to Hire New

  Counsel. (D.E. 184.) The Court denied the Motion without prejudice for failure to comply

  with Local Rule 7.1(a)(3), which requires a pre-filing conferral between the parties. (D.E.

  185.) To date, Plaintiff has not hired new counsel as evidenced by a Notice of Appearance

  on the docket.

                                                2
Case 1:14-cv-23208-JAL Document 190 Entered on FLSD Docket 06/11/2019 Page 3 of 8




         On May 21, 2019, the Eleventh Circuit Court of Appeals dismissed Plaintiff’s

  appeal “for want of prosecution because the appellant Flava Works, Inc. failed to retain

  counsel in accordance with Palazzo v. Gulf Oil[,] 764 F.2d 1381, 1385 (11th Cir. 1995)

  within the time fixed by the rules [.]” (D.E. 186.)

         On May 23, 2019, the Court entered an Order providing Plaintiff until and including

  June 3, 2019 to show cause why the Motion for Proceedings Supplementary and to Implead

  Phillip Bleicher should not be granted by default pursuant to Local Rule 7.1(c), and/or why

  an Order of Default should not be entered against Plaintiff pursuant to Federal Rule of Civil

  Procedure 55(a), based on Plaintiff’s failure to hire new counsel within the time fixed by

  the Court’s April 10, 2019 Order. (D.E. 188.) To date, Plaintiff has not responded to the

  Court’s Show Cause Order.

         Pursuant to Local Rule 7.1(c), “each party opposing a motion”—other than those

  specified by the rule—“shall serve an opposing memorandum of law no later than fourteen

  (14) days after service of the motion. Failure to do so may be deemed sufficient cause for

  granting the motion by default.” S.D. Fla. L.R. 7.1(c) (emphasis added). Because Plaintiff

  has failed to oppose Defendants’ Motion for Proceedings Supplementary and to Implead

  Phillip Bleicher, the Court grants the Motion by default.

         Alternatively, the Court grants the Motion on the merits. Pursuant to Federal Rule

  of Civil Procedure 69, “[a] money judgment is enforced by a writ of execution, unless the

  court directs otherwise. The procedure on execution--and in proceedings supplementary

  to and in aid of judgment or execution--must accord with the procedure of the state where



                                               3
Case 1:14-cv-23208-JAL Document 190 Entered on FLSD Docket 06/11/2019 Page 4 of 8




  the court is located, but a federal statute governs to the extent it applies.” Fed. R. Civ. P.

  69(a)(1).

         “Proceedings supplementary are a procedural mechanism that provides a judgment

  creditor with means to investigate assets of the judgment debtor that might be used to

  satisfy a judgment and are governed by Fla. Stat. § 56.29.” Bodywell Nutrition, LLC v.

  Fortress Sys., LLC, 846 F. Supp. 2d 1317, 1324 (S.D. Fla. 2012) (citing Office Bldg., LLC

  v. CastleRock Sec., Inc., No. 10–61582–CIV, 2011 WL 1674963, at *2 (S.D. Fla. May 31,

  2011)). “Under § 56.29, a judgment creditor may implead third parties to expeditiously

  discover a judgment debtor’s assets and subject them to ‘a speedy and direct proceeding in

  the same court in which the judgment was recovered.’” Id. (quoting CastleRock Sec., 2011

  WL 1674963, at *2).       “‘Impleading third parties in a proceeding supplementary to

  execution is necessary to acquire jurisdiction over them.’” Id. (quoting ABM Fin. Servs.,

  Inc. v. Express Consolidation, Inc., No. 07-60294, 2011 WL 915669, at *2 (S.D. Fla. Mar.

  16, 2011)). “‘Such impleading does not in itself establish liability on the part of the

  impleaded third parties. Rather, it gives them an opportunity to raise their defenses and

  protect their interests consistent with the requirements of due process.’” Id. (quoting ABM

  Fin. Servs., 2011 WL 915669, at *2). “Once impleaded, the third-party ‘must appear

  before the Court and show cause why the contested property should not be applied toward

  satisfaction of the judgment creditor’s judgment.’” Id. (quoting CastleRock Sec., 2011 WL

  1674963, at *3).

         Pursuant to Section 56.29(2), the judgment creditor must “describe any property of

  the judgment debtor not exempt from execution in the hands of any person or any property,

                                                4
Case 1:14-cv-23208-JAL Document 190 Entered on FLSD Docket 06/11/2019 Page 5 of 8




  debt, or other obligation due to the judgment debtor which may be applied toward the

  satisfaction of the judgment.” Fla. Stat. § 56.29(2). Thereafter, the Court must issue a

  Notice to Appear directing the judgment debtor to file an affidavit by a date certain stating

  why the property, debt, or obligation should not be applied to satisfy the judgment. Id.

  The Court may refer the proceedings supplementary to a magistrate judge “who may be

  directed to report findings of law or fact, or both.” Fla. Stat. § 56.29(4). “The court may

  order any property of the judgment debtor, not exempt from execution, or any property,

  debt, or other obligation due to the judgment debtor, in the hands of or under the control of

  any person subject to the Notice to Appear, to be levied upon and applied toward the

  satisfaction of the judgment debt.” Fla. Stat. § 56.29(6).

         “‘Florida courts have developed two jurisdictional prerequisites for supplementary

  proceedings under § 56.29: (1) an unsatisfied writ of execution and (2) an affidavit averring

  that the writ is valid and unsatisfied along with a list of entities to be impleaded.’”

  Bodywell Nutrition, 846 F. Supp. 2d at 1325 (citing CastleRock Sec., 2011 WL 1674963,

  at *2 (citing Bleidt v. Lobato, 664 So. 2d 1074, 1075 (Fla. Dist. Ct. App. 1995); Wieczoreck

  v. H&H Builders, Inc., 450 So. 2d 867, 871 (Fla. Dist. Ct. App. 1984))). Where the

  judgment creditor satisfies the statutory requirements for proceedings supplementary,

  “[j]udges have both the power and the duty to bring in third parties when relief against

  them may be warranted.” Cont’l Cigar Corp. v. Edelman & Co., Inc., 397 So. 2d 957, 958

  (Fla. Dist. Ct. App. 1981) (affirming impleader in proceedings supplementary of third-

  party owner of intellectual property). Moreover, a judgment creditor may implead a

  judgment debtor’s “alter ego”—i.e., a third party that should be treated as the same entity

                                               5
Case 1:14-cv-23208-JAL Document 190 Entered on FLSD Docket 06/11/2019 Page 6 of 8




  as the judgment debtor—so long as the judgment creditor satisfies Fla. Stat. § 56.29(2) by

  describing the property of the alter ego. Longo v. Associated Limousine Servs., Inc., 236

  So. 3d 1115, 1121 (Fla. Dist. Ct. App. 2018).

         Here, the Clerk issued a Writ of Execution on December 7, 2018. (D.E. 173.)

  Defendants’ attorney, John F. Bradley, has filed an affidavit stating that the Writ of

  Execution is valid and remains unsatisfied. (D.E. 174-1 at 24.) Defendants’ Motion for

  Proceedings Supplementary describes the non-exempt intellectual property owned by

  Plaintiff it seeks to apply toward satisfaction of the Judgment—specifically, “copyright

  registrations and/or unregistered copyrights, top level Internet domain names and the

  inventory and goodwill associated therewith in the name of the Judgment Debtor,

  specifically including the Flava IP[.]” (Mot. at 6.) Additionally, Defendants have attached

  as Exhibit I to their Motion a list of copyright registrations owned by Plaintiff, (D.E. 174-

  1 at 2-13), and have attached as Exhibit III to their Motion a list of Internet domain names

  listing Plaintiff as the “Registrant Organization,” (id. at 17-21). The Court finds that

  Defendants have satisfied the statutory requirements for proceedings supplementary

  against Plaintiff, Flava Works, Inc.

         The Motion seeks to implead Plaintiff’s “alter ego,” Phillip Bleicher. (Mot. at 7-8.)

  Mr. Bleicher has identified himself as the “CEO” of Flava Works, Inc. on the signature line

  of his Motions for Extension of Time to Hire New Counsel. (D.E. 181 at 2; D.E. 184 at

  2.) Defendants’ Motion describes “copyrights and Internet domain names” that are

  registered under the name “Phillip Bleicher.” (Mot. at 7-8.) Moreover, Defendants have

  attached as Exhibit II to their Motion a list of the copyrights registered to Phillip Bleicher.

                                                6
Case 1:14-cv-23208-JAL Document 190 Entered on FLSD Docket 06/11/2019 Page 7 of 8




  (D.E. 174-1 at 15), and have attached as Exhibit III to their Motion a list of the Internet

  domain names listing Phillip Bleicher as the “Registrant Name,” (id. at 17-21). The Court

  finds that Defendants have satisfied the statutory requirements for impleading Phillip

  Bleicher.

         Accordingly, it is ORDERED AND ADJUDGED that:

         1.     The Court’s December 26, 2018 Order Referring Defendants’ Motion for

                Proceedings Supplementary and to Implead Phillip Bleicher to Magistrate

                Judge Jonathan Goodman (D.E. 175) is VACATED;

         2.     Defendants’ Motion for Proceedings Supplementary and to Implead Phillip

                Bleicher (D.E. 174) is GRANTED by default and, alternatively, on the

                merits;

         3.     Phillip Bleicher is hereby IMPLEADED as Plaintiff/Judgment Debtor to

                this cause for purposes of proceedings supplementary in aid of execution;

                and

         4.     This matter is REFERRED to Magistrate Judge Jonathan Goodman to issue

                a Notice to Appear pursuant to Fla. Stat. § 56.29(2) and to conduct all further

                proceedings supplementary in aid of execution to the extent authorized by

                Fla. Stat. § 56.29(4) and applicable law.




                                               7
Case 1:14-cv-23208-JAL Document 190 Entered on FLSD Docket 06/11/2019 Page 8 of 8




          DONE AND ORDERED in Chambers at Miami, Florida this 11th day of June,

  2019.


                                      ____________________________________
                                      JOAN A. LENARD
                                      UNITED STATES DISTRICT JUDGE




                                         8
